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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

DYLAN BRANDT, et al.,                                                                  PLAINTIFFS,

v.                                   No. 4:21-CV-00450-JM

TIM GRIFFIN, in his official capacity as
the Arkansas Attorney General, et al.,                                                DEFENDANTS.

                                        NOTICE OF APPEAL

       Defendants, Tim Griffin, in his official capacity as the Attorney General of the State of

Arkansas; Amy E. Embry in her official capacity as the Executive Director of the Arkansas State

Medical Board; and Sylvia D. Simon, Robert Breving Jr., John H. Scribner, Elizabeth Anderson,

Rhys L. Branman, Edward “Ward” Gardner, Rodney Griffin, Betty Guhman, Brian T. Hyatt,

Timothy C. Paden, Don R. Philips, William L. Rutledge, David L. Staggs, and Veryl D. Hodges,

in their official capacities as members of the Arkansas State Medical Board,1 give notice of their

appeal to the United States Court of Appeals for the Eighth Circuit from this Court’s Order (Doc.

283) issued on June 20, 2023, and the Judgment entered the same day. (Doc. 284).

       The Eighth Circuit has jurisdiction because this is an appeal from a final judgment of a

district court of the United States, 28 U.S.C. 1291, which also confers jurisdiction over “all of the

previous rulings and orders that led up to and served as a predicate for that final judgment.” Greer

v. St. Louis Reg’l Med. Ctr., 258 F.3d 843, 846 (8th Cir. 2001); see Johnson v. Leonard, 929 F.3d

569, 575 (8th Cir. 2019).




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         Sylvia D. Simon, Robert Breving, Jr., Rhys L. Branman, Brian T. Hyatt, William L.
Rutledge, and David L. Staggs are no longer serving on the Arkansas State Medical Board.
Their successors in office are Michael J. Birrer, Christopher D. Davis, C. Wesley Kluck, Jr.,
Brian L. McGee, Matthew A. Sellers, and Brad A. Thomas, who are automatically substituted as
parties. Fed. R. Civ. P. 25(d); Fed. R. App. P. 43(c)(2).
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Dated: July 20, 2023                   Respectfully submitted,

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